          Case 2:18-cv-00348-TJS Document 23 Filed 06/22/18 Page 1 of 2




                      ~ITED   STATES DISTRICT CO"GRT FOR THE
                         EASTERN DISTRICT OF PE~SYL VANIA




                                                             Civil Action No.   -
                                                                                    (ff- -- -J -1tfg;
                                                                                                  --


                                                                                               FILED
                                                                                                        018
                     REQ"GEST FOR APPOINTMENT OF A TTOR.~EY

         1l:>2r VS _Lwl\     ~e
provided by 42 U.S.C. § 2000(e)5.
                                  (,Petitioner/Plaintiff, request appointment


          1.)   I ha/e made a diligent effort to employ an attorney [check appropriate box( es)]:

                d      CONTACTED PRIVATE              ATTOR.~EY(S)
                       (List all attorney(s) contacted and state why each is not representing you.)




                CJ     CONTACTED A LEGAL AID ORGANIZATION
                       (State when this organization was contacted and why it did not assist you.)




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(Rev 10/09)
Case 2:18-cv-00348-TJS Document 23 Filed 06/22/18 Page 2 of 2




      I      CO'.'ITACTED BAR ASSOCIATION LAWYER REFERRAL
             SERVICE, if available. (State what assistance was provided.)




             - --- -------

2.)   If unable to pay attorney's fees or costs - I am financially unable to hire counsel
      (Complete and file Form 3 - In Forma Pauperis Petition)

3.)   I believe I have a claim against the following employer (Give name and address):




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4.)   The reason(s) for my claim are (Give brief employment history with dates and
      specific reasons for lawsuit):

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